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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
E.G., individually and as parent and natural             :
guardian of A.I. and L.I., minor children;               ::   No. 20-cv-9879 (AJN)
M.M., individually and as parent and natural ::
guardian of E.H., L.H., E.P., and E.P.,                  ::
minor children; O.M., individually and as                ::
parent and natural guardian of A.M., a minor ::
child; and COALITION FOR THE                             ::
HOMELESS, on behalf of themselves and                    ::
all others similarly situated,                           ::
                                                         ::
                           Plaintiffs,                   ::
                                                         ::
         -against-                                       ::   [PROPOSED] STIPULATED
                                                         ::   PROTECTIVE ORDER AND
THE CITY OF NEW YORK; NEW YORK ::                             CLAWBACK AGREEMENT
CITY DEPARTMENT OF EDUCATION;                            ::
RICHARD A. CARRANZA, as Chancellor of :
the New York City Department of Education; :
NEW YORK CITY DEPARTMENT OF                               :
SOCIAL SERVICES; STEVEN BANKS, as :
Commissioner of the New York City                         :
Department of Social Services; NEW YORK :
CITY DEPARTMENT OF HOMELESS                               :
SERVICES; JOSLYN CARTER, as                               :
Administrator of the New York City                        :
Department of Homeless Services; NEW                      :
YORK CITY HUMAN RESOURCES                                 :
ADMINISTRATION; GARY JENKINS as                           :
Administrator of the New York City Human :
Resources Administration; NEW YORK CITY :
DEPARTMENT OF INFORMATION                                 :
TECHNOLOGY AND                                            :
TELECOMMUNICATIONS; and JESSICA :
TISCH, as Commissioner of the New York                    :
City Department of Information Technology :
and Telecommunications,                                   :
                                                          :
                        Defendants.
                                                          :
--------------------------------------------------------x
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       The Parties in the above-captioned action, by and through their respective counsel, hereby

agree and stipulate, pursuant to Federal Rule of Civil Procedure 26(c), subject to the approval of

the Court, that the following Stipulated Protective Order and Clawback Agreement (“Order”) shall

govern the disclosure, handling, and use of documents, testimony taken at depositions and

transcripts thereof, deposition exhibits, interrogatory responses, admissions, and any other

information and material produced or disclosed, whether voluntarily or in response to a request

made pursuant to the Federal Rules of Civil Procedure, in discovery in the above-captioned action

(the “Litigation”), because discovery in the Litigation may involve production of confidential,

proprietary, competitively and/or highly sensitive, personally identifiable or private information

for which special protection from public disclosure, and from use for any purpose other than

prosecuting or defending this Litigation, would be warranted.

1.     DEFINITIONS

               (a)     Confidential Discovery Material. Any Discovery Material designated as

“Confidential” pursuant to Paragraph 3(a) herein.

               (b)     Derivative Information. As defined in Paragraph 3(c) herein.

               (c)     Designating Party. Any person or entity, whether a Party or Non-Party, that

designates Discovery Material in this Litigation.

               (d)     Discovery Material. Any information contained in documents, testimony

taken at depositions and transcripts thereof, deposition exhibits, interrogatory responses, responses

to requests for admissions, and any other information or material produced, given, or exchanged

in this Litigation, regardless of the medium or manner generated, stored, or maintained.

               (e)     Non-Party. Any person or entity that is not a Party to the Litigation.

               (f)     Objecting Party. As defined in Paragraph 8(b) herein.
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               (g)     Producing Party. Any person or entity, whether a Party or Non-Party, that

produces Discovery Material in the Litigation.

               (h)     Protected Material. As defined in Paragraph 7(a) herein.

               (i)     Receiving Party. Any Party receiving Discovery Material in the Litigation.

2.     PURPOSES AND LIMITATIONS

       Subject to Paragraph 10(a), all Discovery Material (including, but not limited to,

Confidential Discovery Material) shall be used solely for purposes of the prosecution or defense

of this Litigation and may not be used for any other purpose whatsoever, including, but not limited

to, any business or commercial purpose, dissemination to the media or the public, or in connection

with any other proceeding, whether judicial, governmental, administrative or arbitral,

contemplated, pending or final. The Parties, the attorneys of record for the Parties, and all other

persons receiving information governed by this Order shall maintain Discovery Material in a

secure manner so as to avoid disclosure of its content and take reasonable steps to ensure that

Discovery Material is (i) used only for the purposes specified herein and (ii) disclosed only to

authorized persons, as described in Paragraph 4 herein. The attorneys of record for the Parties are

responsible for employing reasonable measures, consistent with this Order, to control access to,

duplication of, and distribution of copies of Discovery Material marked “Confidential.”

3.     DESIGNATING DISCOVERY MATERIAL

               (a)     Confidential Designations. Any Producing Party may designate Discovery

Material it produces as “Confidential” only if that party believes in good faith that such Discovery

Material contains or reflects non-public personal (including personally identifiable), financial,

proprietary, customer, or client information, business information, commercially and/or highly

sensitive information, trade secrets, product research or development, or information that is


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entitled to confidential treatment under the Federal Rules of Civil Procedure, applicable laws or

regulations (including information that is subject to U.S. or foreign privacy, data protection, or

secrecy laws or regulations), regulations governing the disclosure of government or agency

documents, or Fed. R. Civ. P. 26(c)(1)(G). Confidential Discovery Material includes but is not

limited to personally identifiable information related to the named plaintiffs in the Litigation and

shelter property addresses, including zip code, borough, and facility names.

               (b)     Manner of Designations. For purposes of this Order, Producing Parties

shall designate Confidential Discovery Material in the following manner:

                       (i)    In the case of physical or electronic documents or data (apart from

depositions or other pretrial testimony, but including discovery responses such as interrogatories,

compulsory disclosures and other written information), the Producing Party shall designate

Confidential Discovery Material by performing all of the following: (i) stamping or otherwise

clearly marking as “CONFIDENTIAL” the material in a manner that will not interfere with

legibility or audibility; (ii) identifying the Confidential Discovery Material as “CONFIDENTIAL”

in a “Designation” or “Confidentiality Designation” data field for productions that include

metadata; and (iii) providing any Confidential Discovery Material in a separate “Confidential”

production volume, including full families of such Confidential Discovery Material. To the extent

Confidential Discovery Material is contained in a document that is produced natively, such as an

Excel spreadsheet, the native file should be produced along with a placeholder TIFF image that

reflects the native file’s production Bates number and the appropriate confidentiality designation.

                       (ii)   In the case of materials produced in the form of electronic or

magnetic media (including information, tiles, databases, or programs stored on any digital or

analog machine-readable device, computers, discs, networks, or tapes), the Producing Party shall

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affix a label on the media or its casing indicating its designation as “CONFIDENTIAL” and, if

possible, shall identify in an accompanying cover letter the specific data included in such media

that is subject to the designation.

                        (iii)   In the case of depositions, counsel for any Party may designate as

“Confidential” any portion of a deposition transcript, including any rough draft transcript, deemed

to contain Confidential Discovery Material. The Designating Party shall advise the court reporter

and counsel of record of the testimony containing the Confidential Discovery Material, either

orally at the deposition or in writing to all Parties no later than thirty (30) days after receipt of the

transcript or rough draft transcript of such depositions or other pretrial testimony, except with

respect to deposition testimony for purposes of an evidentiary hearing in connection with

Plaintiffs’ Motion for Preliminary Injunction (“Preliminary Injunction Hearing”), the Designating

Party shall provide such written notice in no later than five (5) days. The court reporter shall mark

“CONFIDENTIAL” on the first page of the transcript and from the beginning through the end of

any portions thereof designated as “Confidential.” Until the expiration of the 30-day or 5-day

period, as applicable, the Parties shall treat the entirety of any transcript, including any rough draft

transcripts, as Confidential Discovery Material. Thereafter, only those portions of the transcripts

designated as “Confidential” shall be deemed Confidential Discovery Material. The Parties may

modify this procedure for any particular deposition, through agreement on the record at such

deposition, without further order of the Court. Discovery Material previously designated as

“Confidential” that is marked as an exhibit during a deposition shall be treated as so designated at

all times, regardless of whether the Discovery Material has been so marked by the court reporter.

                (c)     Derivative    Information.       Extracts,   summaries,     compilations     and

descriptions of Confidential Discovery Material and notes, electronic images, or databases

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containing Confidential Discovery Material (“Derivative Information”) shall be treated as

“Confidential” in accordance with the provisions of this Order to the same extent as the Discovery

Material or information from which such Derivative Information is made or derived.

               (d)     Failure to Designate. If a Producing Party produces Discovery Material that

it considers to be “Confidential” without affixing the appropriate legend(s) to such Discovery

Material, produces two or more identical copies of Discovery Material (i.e., duplicates) with

inconsistent legends, or fails to designate deposition or other testimony within the time period

provided in Paragraph 3(b)(iii), or if a Party fails to designate Discovery Material produced by a

Non-Party within the time period provided in Paragraph 12(c), the Producing Party or the Party

failing to designate Discovery Material produced by a Non-Party, as applicable, may subsequently

designate such Discovery Material as “Confidential” by, promptly upon learning of the production

without the required legend(s), delivering to the Receiving Parties or, in the event of a production

by a Non-Party, all Parties (i) written notice of such designation and (ii) properly designated copies

of such Discovery Material and any Derivative Information, with the effect that such Discovery

Material will thereafter be fully subject to the protections afforded by this Order. The Receiving

Party or, in the event of a production by a Non-Party, all Parties must make a good faith effort to

retrieve such Discovery Material, if disclosed to persons not permitted by this Order. Nothing in

this Order shall prevent a Producing Party or Non-Party, in good faith, from correcting the

designation of information that already has been produced to another party in undesignated form

or with a different designation, or designating as “Confidential” information that has previously

been produced in undesignated form or with a different designation by another Producing Party or

Non-Party. If designation in accordance with Paragraph 3(b)(i) or 3(b)(ii) is impractical or

impossible, the Parties should meet and confer to develop an acceptable protocol for designation.

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               (e)     No Waiver. Disclosure by the Producing Party of Discovery Material

designated as “Confidential” regardless of whether the information was so-designated at the time

of the disclosure, shall not be deemed a waiver in whole or in part of a Party’s claim of

confidentiality, either as to the specific information disclosed or as to any other information

relating thereto on the same or a related subject matter.

4.     ACCESS TO AND USE OF DESIGNATED DISCOVERY MATERIAL

               (a)     Use of Confidential Discovery Material. No person shall disclose, or cause

another person to disclose, Confidential Discovery Material to any other person except as provided

in this Order. A recipient of Confidential Discovery Material may disclose, summarize, describe,

characterize, or otherwise communicate or make available such Confidential Discovery Material,

in whole or in part, only to the following persons, and only insofar as such disclosure, summary,

description, characterization, or communication is reasonably necessary for the prosecution or

defense of this Litigation:

                       (i)     counsel for the Parties in this Litigation, and the regular and

temporary employees and service vendors of such counsel (including outside copying services and

outside litigation support services) assisting in the Litigation, provided, however, that in all

instances, any disclosure is for use in accordance with this Order;

                       (ii)    a Party’s authorized representatives responsible for overseeing its

legal affairs and any current employee, officer, or director of a Party assisting in the defense or

prosecution of, or making a determination with respect to, the Litigation, or, in the case of an

individual Party, the Party himself or herself;

                       (iii)   a Party’s former employees and directors who have agreed to be

bound by this Protective Order by executing Exhibit A hereto;


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                        (iv)    experts or consultants and their employees and/or staff members

engaged to prepare a written opinion, testify, or assist counsel for a Party in the Litigation, provided

that any report created by such expert or consultant relying on or incorporating Confidential

Discovery Material, in whole or in part, shall be designated as “Confidential” by the Party

responsible for its creation, and provided further, that such expert or consultant and their

employees and/or staff members have signed an undertaking in the form attached as Exhibit A

hereto;

                        (v)     any witness during their deposition or other proceeding in this

Litigation. All such witnesses, and their counsel, will be bound by the provisions of the Protective

Order, and no such witnesses or deponents or their counsel (except to the extent the counsel

represents a Party) shall be permitted to retain any Confidential Discovery Material;

                        (vi)    any fact witness in this Litigation or any person whom a Party’s

counsel believes in good faith will testify in this Litigation, and his or her counsel, to the extent

the Confidential Discovery Material disclosed to such person relates to the anticipated subject

matter of the witness’s testimony, and provided that such witness and his or her counsel has signed

an undertaking in the form attached as Exhibit A hereto and is not provided by the Receiving Party

with copies of such Confidential Discovery Material for his or her retention. Confidential

Discovery Material may be disclosed to a witness who refuses to sign Exhibit A, attached hereto,

if the witness has been told that the Confidential Discovery Material may be protected by federal

and applicable state law, and that misuse, misappropriation or wrongful disclosure of Confidential

Discovery Material might subject the witness to civil and/or criminal liability. Counsel shall

safeguard all such documents, furnish them one at a time to the witness in preparations, collect

and safeguard them after each individual use, not permit the witness to copy or take notes

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concerning such documents and, at the time of testimony, represent at the inception of the witness’s

testimony adherence to this Order;

                       (vii)   the original source of information reflected in Confidential

Discovery Material, provided that such person is notified that such Confidential Discovery

Material is subject to this Order and is not provided with copies of such Confidential Discovery

Material for his or her retention, and provided further that, if such source was not the author or

recipient of such Confidential Discovery Material, only the portion of such Confidential Discovery

Material reflecting information provided by the source may be disclosed to the source;

                       (viii) any person who is identified as an author or recipient of such

Confidential Discovery Material (whether by the Confidential Discovery Material itself or any

other Discovery Material, including by testimony), provided that such person is notified that such

Confidential Discovery Material is subject to this Order and is not provided with copies of such

Confidential Discovery Material for his or her retention;

                       (ix)    court reporters and videographers and their respective staffs retained

in connection with the Litigation;

                       (x)     the Court, necessary Court personnel, and jurors;

                       (xi)    any mediator, arbitrator, or other person engaged for the purpose of

alternative dispute resolution, provided that such meditator, arbitrator, or other person has signed

an undertaking in the form attached as Exhibit A hereto; and

                       (xii)   any other person agreed upon in advance by all Parties in writing or

on the record, or any person as to whom the Court directs should have access.




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               (b)     Absent an order of the Court directing otherwise, there is no requirement

that a Party who discloses information or items designated as “Confidential” disclose the identities

of the recipients of such information or produce any executed Exhibit A, attached hereto.

               (c)     Disclosure to Unauthorized Persons. If a Receiving Party learns that, by

inadvertence or otherwise, it has disclosed Confidential Discovery Material to any person or in

any circumstance not authorized under this Order, the Receiving Party must immediately (i) notify

in writing the Producing Party of the unauthorized disclosures, (ii) use best efforts to retrieve all

copies of the Confidential Discovery Material, (iii) inform the person or persons to whom

unauthorized disclosure was made of all of the terms of this Order, and (iv) request that such person

or persons execute the undertaking in the form attached as Exhibit A hereto.

               (d)     Use by Additional Parties. In the event that additional persons or entities

become parties to the Litigation (a “New Party”), neither their outside counsel nor experts or

consultants retained to assist such counsel shall have access to Confidential Discovery Material

produced by or obtained from any other Producing Party until the New Party has executed and

filed with the Court a copy of this Order.

               (e)     Limitations on Use. Every person or entity given access to Confidential

Discovery Material or information contained therein:

                       (i)     shall not make copies, duplicates, extracts, summaries or

descriptions of such material, or any portion thereof, except for use in connection with the

Litigation, and each such copy is to be treated in accordance with the provisions of this Order; and

                       (ii)    shall be advised by the Party providing such access that the

information is being disclosed pursuant and subject to the terms of this Order and may not be

disclosed other than pursuant to such terms.

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5.      FILING DESIGNATED DISCOVERY MATERIAL

                (a)     Filing Designated Discovery Material. In the event that a Receiving Party

determines to file or submit any papers containing or making reference to any Confidential

Discovery Material produced by a Producing Party, such papers, or any portions thereof containing

or making reference to such Confidential Discovery Material, shall be filed either in redacted form

or with a request that the papers be filed under seal in accordance with the Southern District of

New York’s Electronic Case Filing Rules and the rules of the Court (and kept under seal until

further order of the Court).

                (b)     Nothing herein shall be construed to affect in any manner the admissibility

at trial of any document, testimony, or other evidence.

                (c)     Removal of Sealed Records. Sealed records that have been filed may be

removed by the Designating Party (i) within 90 days after a final decision disposing of the

Litigation is rendered if no appeal is taken, or (ii) if an appeal is taken, within thirty (30) days after

final disposition of the appeal.

6.      USE OF DESIGNATED DISCOVERY MATERIAL IN COURT

        Use of Confidential Discovery Material in Court. Unless applicable rules or the Court

provide for different notice, if any Receiving Party plans to utilize any Confidential Discovery

Material at a court hearing, conference, or trial, that Receiving Party will use reasonable efforts to

inform the Producing and/or Designating Party of its intent to use such information in advance of

the court appearance, without being obligated to identify the particular Confidential Discovery

Material to be used. Whether or not any such advance notice is given, the Receiving Party will

provide the Producing and/or Designating Party with an opportunity to approach the Court in

confidence, whether in chambers or sidebar or such other method as the Court shall direct,


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regarding the use of the Confidential Discovery Material before reference is made to any such

Confidential Discovery Material. This provision is not intended to prohibit counsel from selecting

and using Confidential Discovery Material for any court hearing or conference.

7.     CLAWBACK OF PROTECTED MATERIAL

               (a)     Production Not a Waiver. Production or disclosure of any Discovery

Material in the Litigation or any other proceeding that the Producing Party subsequently claims is

highly sensitive but not responsive, contains personally identifiable information, and/or is

protected by any privilege or protection recognized by law (including but not limited to the

attorney-client privilege, the attorney work product doctrine, the deliberative process privilege,

and/or the joint defense or common interest doctrines) (collectively, “Protected Material”),

whether inadvertent or otherwise, shall not constitute or be deemed a waiver of any claim of

privilege, protection, highly sensitive nature, personally identifiable information, and/or non-

responsiveness applicable to that material or its subject matter or the right to object to the

production or disclosure of the Protected Material in this Litigation or any other proceeding, and

shall be governed by the procedures set forth in paragraph 7(b). It is the intent of the Parties to

assert and preserve all information within the attorney-client privilege, any other applicable

privilege or protection, and/or entitled to work product protection. This Order shall be interpreted

to provide the maximum protection allowed by Federal Rule of Evidence 502(d), Federal Rule of

Civil Procedure 26(c), and any other applicable law, and shall specifically exclude the application

of Federal Rule of Evidence 502(b) to any Clawback Demand and/or Protected Material, as defined

herein, requested under this Order.

               (b)     Clawback Procedure.




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                       (i)     Any Party that produces Protected Material, or any other party

purporting to hold a privilege or applicable protection, may notify in writing the Party receiving

Protected Material that it has disclosed Protected Material without intending a waiver by the

disclosure and demand that it be returned or destroyed (the “Clawback Demand”). Such demand

shall be made after the Producing Party discovers that the Protected Material was produced or

disclosed and shall identify the Protected Material to be returned or destroyed (including the Bates

number of the document, or if no Bates number appears on the document, sufficient information

to identify the document or information) and the basis for the claim of privilege or protection. For

Protected Material that is protected by the attorney-client privilege, the attorney work product, the

deliberative process privilege, the joint defense or common interest doctrines, and/or any other

privilege recognized by law, the Producing Party shall provide a privilege log within ten (10)

business days of the Clawback Demand.

                       (ii)    Immediately upon identifying a document or information produced

by the Producing Party that appears to be protected by the attorney-client privilege, the attorney

work product doctrine, the deliberative process privilege, and/or the joint defense or common

interest doctrines, the Receiving Party shall (1) notify the Producing Party in writing of its receipt

of the potentially Protected Material, including the Bates number of the document, or if no Bates

number appears on the document, sufficient information to identify the document so that the

Producing Party may make a Clawback Demand; and (2) cease any inspection, use, or disclosure

of the potentially Protected Material, and of any work product, analyses, memoranda, or notes that

were generated by the Receiving Party (and/or Receiving Party’s consultants, experts, and/or

agents) based upon such Protected Material, regardless of whether the Receiving Party agrees with

the claim of privilege, or protection.

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                       (iii)   Immediately upon receiving a Clawback Demand, regardless of

whether the Receiving Party agrees with the claim of privilege, protection, personally identifiable

information, high sensitive but not responsive nature, the Receiving Party shall cease any

inspection, use, or disclosure of the Protected Material, and of any work product, analyses,

memoranda, or notes that were generated by the Receiving Party (and/or Receiving Party’s

consultants, experts, and/or agents) based upon such Protected Material.

                       (iv)    In the absence of written permission by the Producing Party or an

Order permitting otherwise, after the Receiving Party has identified a document or information

produced by the Producing Party that appears to be protected by the attorney-client privilege, the

attorney work product doctrine, the deliberative process privilege, and/or the joint defense or

common interest doctrines, or after it receives a Clawback Demand, the Receiving Party will not

introduce the Protected Material into evidence, disclose it to any person or entity, or use it for any

purpose in this or any other action.

                       (v)     The Receiving Party, within ten (10) business days of receiving a

Clawback Demand, regardless of whether the Receiving Party agrees with the claim of privilege,

protection, highly sensitive nature, personally identifiable information, and/or non-responsiveness,

shall: (a) destroy the Protected Material or return it to the Producing Party, including any paper or

electronic copies, (b) notify any third party to whom the Receiving Party sent or disclosed such

identified Protected Material to return it to the Producing Party or destroy it; and (c) destroy any

work product, analysis, memoranda, or notes reflecting the content of such produced Protected

Material and/or which were generated by the Receiving Party (and/or Receiving Party’s

consultants, experts, and/or agents) based upon such Protected Material. If any additional work

product, analyses, memoranda, or notes are later discovered, they shall immediately be destroyed.

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The Receiving Party shall provide written assurance to the Producing Party that these actions have

been completed within ten (10) days of receiving a Clawback Demand. If the document or

information subject to the Clawback Demand contains Protected Material only in part, then the

Producing Party shall, in a timely manner, produce a redacted version of the document or

information subject to the Clawback Demand.

                       (vi)    Notwithstanding the directives of the above, if a Receiving Party

disagrees with a Producing Party’s claim that certain documents or information constitute

Protected Material, then, within ten (10) business days of receiving the Clawback Demand (and

upon the fulfillment of any obligation to meet and confer as may be required by rule or applicable

law), the Receiving Party may move the Court for an Order compelling production of any of the

documents or information covered by the Clawback Demand. The Receiving Party’s motion

and/or argument to the Court (i) shall not disclose or otherwise refer to the content of the Clawback

Material beyond the information set forth in the Clawback Demand or a privilege log; and (ii) shall

not disclose that the material was subject to a Clawback Demand. The Receiving Party also shall

not assert that its return or destruction of the Protected Material has caused it to suffer prejudice.

The Receiving Party is not subject to the directives set forth in Paragraph 7(b)(iv) until the Court

resolves the Receiving Party’s motion, at which time the Court’s decision shall govern the

treatment of the disputed documents and/or information. The Receiving Party is enjoined from

using in any manner the disputed Protected Material, including any work product, analysis,

memoranda, or notes reflecting the content of such produced Protected Material that were

generated by the Receiving Party (and/or Receiving Party’s consultants, experts, and/or agents)

based upon such Protected Material (aside from in connection with the motion as limited in this

paragraph), until the motion is resolved.

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                      (vii)    Any Party opposing a Producing Party’s assertion of attorney-client

privilege, any other applicable privilege, highly sensitive nature, personally identifiable

information, non-responsiveness, and/or entitlement to work product protection shall not assert as

a ground for opposing such an assertion that the Producing Party waived any privilege or protection

because of inadvertent production in this Litigation.

8.       CHALLENGING CONFIDENTIALITY DESIGNATIONS

               (a)    Failure to Challenge Not a Waiver. A Party shall not be obligated to

challenge the propriety of the designation of Discovery Material as “Confidential” or a failure to

so designate at the time of the designation, and the failure to so challenge shall not waive or

otherwise preclude a subsequent challenge to such designation or failure to designate in accordance

with Paragraph 8(c) herein.

               (b)    Time to Challenge Designation. A Party may object to the designation of

Discovery Material as “Confidential” (the “Objecting Party”), or a failure to so designate, at any

time.

               (c)    Procedure for Challenging Designation. In the event that a Party wishes to

challenge the designation of any Discovery Material as “Confidential” or a failure to so designate,

the Objecting Party shall give written notice to counsel for the Producing Party and all Parties in

the Litigation of the reasons for the objection. The Objecting Party and the Producing Party shall

attempt in good faith to resolve all objections by agreement. If any objections cannot be resolved

by agreement, the Objecting Party may, in accordance with Paragraph 5, submit the issue to the

Court at any time. Any Discovery Material as to which such an issue is raised shall continue to be

treated as Confidential Discovery Material until the Court’s decision on the issue or the Producing

Party withdraws such designation in writing, or, if the challenge is for a failure of a Party to


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designate Discovery Material as “Confidential,” such Discovery Material shall be treated at the

level sought by the Objecting Party until the Court’s decision on the issue or the Objecting Party

withdraws such objection in writing.

9.     FINAL DISPOSITION

       The provisions of this Order shall, absent written permission of the Producing Party or

order of the Court, continue to be binding throughout and after the conclusion of the Litigation.

Within sixty (60) days after receiving notice of entry of an order, judgment or decree finally ending

the Litigation, including, without limitation, any appeals therefrom, or the running of time to take

such an appeal, if later, all persons having received Confidential Discovery Material shall, upon

request of the Producing Party, make commercially reasonable efforts to identify and destroy all

such Confidential Discovery Material, including all copies thereof and Derivative Information, or

return such materials to counsel for the Producing Party, provided that no Receiving Party shall be

required to remove the Producing Party’s Confidential Information from its email archives and

backup tapes. Counsel for the Parties shall be entitled to retain work product, court papers,

deposition transcripts and trial transcripts that contain, reference or constitute Confidential

Discovery Material, as well as any such materials that are subject to a litigation hold or document

retention obligation in another matter, or that are in use or may be used in a pending proceeding,

as described in Paragraph 10(a); provided, however, that such counsel, and employees of such

counsel, shall maintain the confidentiality thereof pursuant to the terms of this Order.

10.    LEGAL PROCESS

               (a)     Notice of Process and Objections. If a Receiving Party receives a public

record request, is subpoenaed in another proceeding, or is served with a document demand or other

similar legal process or order in another proceeding, including any proceeding before any other


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court, arbitration panel, regulatory agency, law enforcement or administrative body, and such

request, subpoena, document demand, or order seeks Confidential Discovery Material that was

produced by a person or entity other than the recipient of such subpoena or document demand, the

Receiving Party shall, unless otherwise required or prohibited by law, give written notice pursuant

to Paragraph 10(b) hereto, within seven (7) business days of receipt, to counsel for the Producing

Party that designated the Discovery Material as “Confidential” in this Litigation. The Receiving

Party shall not voluntarily make any production of the Confidential Discovery Material until

resolution of any objections interposed by the Producing Party, including, but not limited to,

objections in the form of a motion to quash or modify the subpoena, unless compelled or otherwise

required by law. The Receiving Party shall make a good faith effort to provide the Producing

Party a reasonable period of time in which to seek to quash the subpoena or document demand, or

to move for any protection for the Discovery Material, before the Receiving Party takes any action

to comply with the subpoena or document demand and shall request, by designation pursuant to a

protective order or otherwise, the highest level of confidentiality protection available consistent

with the designation of that Discovery Material pursuant to this Order. Nothing in this Order shall

be construed as authorizing a Party to disobey any law or court order requiring production of

Discovery Material designated as “Confidential” in this Litigation.

                (b)     Form of Notice. Any written notice required by Paragraph 10(a) hereto

shall be sufficient if made, given, furnished, or filed, in writing, to: (a) counsel to Plaintiffs, Grant

R. Mainland, Milbank LLP, 55 Hudson Yards, New York, NY, 10001; (b) counsel to Defendants,

Sabita Krishnan, New York City Law Department, 100 Church Street, 20th Floor New York, NY,

10007.




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11.     PRODUCING PARTY’S USE OF ITS OWN DOCUMENTS

        This Order has no effect upon, and shall not apply to, a Producing Party’s use of its own

Confidential Discovery Material for any purpose. Similarly, this Order has no effect upon, and

shall not apply to, any information or material that: (i) was, is, or becomes public knowledge, not

in breach of this Order or any other court order; (ii) is properly acquired, developed, or learned by

the Receiving Party independent of discovery in this Litigation; or (iii) is required by law to be

made available to third parties.

12.     NON-PARTIES

                (a)     Protection for Non-Parties. Any Non-Party from whom Discovery Material

is or has been sought in this Litigation may obtain the protections of this Order by giving written

notice to the Parties that it intends to be bound by the provisions of this Order and designating that

its provision of Discovery Material is subject to the Order.

                (b)     Duty to Notify Non-Parties. The subpoenaing or requesting party shall

advise any Non-Party from whom Discovery Material is sought of the existence of this Order and

its right to obtain its protections.

                (c)     Right of Party to Designate. To the extent that any Non-Party produces

Discovery Material in this Litigation that contains Confidential Discovery Material of a Party to

this Litigation, that Party may designate such Discovery Material as “Confidential” for purposes

of this Order by delivering written notice of such designation to the Parties within sixty (60) days

of receipt by counsel for all Parties of the Non-Party’s production of such Discovery Material,

except with respect to Discovery Material produced for purposes of the Preliminary Injunction

Hearing, that Party shall provide such written notice within ten (10) days. Until the expiration of

the 60-day or 10-day period, as applicable, the Parties shall treat any Discovery Material produced


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by a Non-Party as Confidential Discovery Material. Thereafter, only those portions of such

Discovery Material designated as “Confidential” shall be deemed Confidential Discovery

Material.

13.    MISCELLANEOUS

               (a)     Entering into or agreeing to this Order, producing or receiving Confidential

Discovery Material, or otherwise complying with the terms of this Order, shall not:

                       (i)     operate as an admission by the Receiving Party that any particular

Discovery Material designated as “Confidential” by the Producing Party is appropriately

designated as such;

                       (ii)    operate as an admission by the Parties that any particular document

or information is or is not responsive, relevant, privileged, reflective of personally identifiable

information, and/or admissible in this Litigation;

                       (iii)   prevent any Party from seeking further, greater, or lesser protection

with respect to the use of any Discovery Material, in connection with this Litigation or any other

proceeding;

                       (iv)    prevent, limit, or restrict the Parties’ right to conduct a full review

of documents and related information (including metadata) for responsiveness, privilege,

personally identifiable information, and/or protected information prior to production and/or

disclosure;

                       (v)     override any attorney’s ethical responsibilities to refrain from

examining or disclosing Discovery Material that the attorney knows or reasonably should know to

be privileged and to inform the Producing Party that such material has been produced;




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                       (vi)    prejudice in any way the rights of any Party to object to the

production of documents or information it considers not subject to discovery or to object to the

authenticity or admissibility into evidence of any document, testimony, or other evidence subject

to this Order;

                       (vii)   waive any applicable privilege, protection, or immunity;

                       (viii) waive a Party’s right to move the Court for an order allowing

disclosure of Confidential Discovery Material for good cause;

                       (ix)    prejudice in any way the rights of a Party to petition the Court for a

protective order relating to any purported Confidential Discovery Material;

                       (x)     prevent the Parties from agreeing to alter or waive the provisions or

protections provided for herein with respect to any particular Discovery Material; or

                       (xi)    affect, or be construed to affect, in any way the admissibility of any

document, interrogatory response, or other evidence at hearings or trial of the Litigation.

                 (b)   It is the present intention of the Parties that the provisions of this Order shall

govern discovery in the Litigation. Nonetheless, the Parties hereto may modify the terms of the

Order by agreement of all Parties in writing, and approval by the Court.

                 (c)   The terms of this Order shall survive any settlement, discontinuance,

dismissal, judgment, or other disposition of the Litigation.

                 (d)   The Parties agree to meet and confer concerning any dispute between the

Parties regarding this Order before seeking assistance from the Court. If the Parties are unable to

resolve the dispute, any Party may make an appropriate application to the Court for relief.

                 (e)   This Order may be executed in any number of actual, telecopied or emailed

counterparts, and by each of the different parties thereto on several counterparts, each of which

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when executed and delivered shall be an original. The executed signature page(s) from each actual,

telecopied or emailed counterpart may be joined together and attached to one such original and

shall constitute one and the same instrument.

               (f)    This Order shall become effective as a stipulation among the Parties

immediately upon its execution.




 DATED: January [_], 2021                       MILBANK LLP

                                                /S/ Grant R. Mainland

                                                Grant R. Mainland
                                                Alison M. Bonelli
                                                Maria Esperanza Ortiz
                                                55 Hudson Yards
                                                New York, NY 10001
                                                Telephone: (212) 530-5251
                                                GMainland@milbank.com

                                                THE LEGAL AID SOCIETY

                                                /S/ Susan J. Horwitz

                                                Susan J. Horwitz
                                                Joshua Goldfein
                                                Beth Hofmeister
                                                Kathryn Kliff
                                                199 Water Street
                                                New York, NY 10038
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                                                SHorwitz@legal-aid.org

                                                Lead Counsel for Plaintiff




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DATED: January [_], 2021           NEW YORK CITY LAW DEPARTMENT

                                   /S/ Sabita Krishnan

                                   James E. Johnson
                                   Sabita Krishnan
                                   Hope Lu
                                   Melanie Ash
                                   New York City Law Department
                                   100 Church Street, 20th Floor
                                   New York, NY 10007
                                   Telephone: (212) 356-2273
                                   skrishnan@law.nyc.gov

                                   Counsel for Defendants

SO ORDERED:

DATED: _________________________   ____________________________________
                                   THE HONORABLE ALISON J. NATHAN
                                   UNITED STATES DISTRICT JUDGE




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                                                   EXHIBIT A

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
E.G., individually and as parent and natural             :
guardian of A.I. and L.I., minor children;               ::   No. 20-cv-9879 (AJN)
M.M., individually and as parent and natural ::
guardian of E.H., L.H., E.P., and E.P.,                  ::
minor children; O.M., individually and as                ::
parent and natural guardian of A.M., a minor ::
child; and COALITION FOR THE                             ::
HOMELESS, on behalf of themselves and                    ::
all others similarly situated,                           ::
                                                         ::   CERTIFICATION
                           Plaintiffs,                   ::
                                                         ::
         -against-                                       ::
                                                         ::
THE CITY OF NEW YORK; NEW YORK ::
CITY DEPARTMENT OF EDUCATION;                            ::
RICHARD A. CARRANZA, as Chancellor of :
the New York City Department of Education; :
NEW YORK CITY DEPARTMENT OF                               :
SOCIAL SERVICES; STEVEN BANKS, as :
Commissioner of the New York City                         :
Department of Social Services; NEW YORK :
CITY DEPARTMENT OF HOMELESS                               :
SERVICES; JOSLYN CARTER, as                               :
Administrator of the New York City                        :
Department of Homeless Services; NEW                      :
YORK CITY HUMAN RESOURCES                                 :
ADMINISTRATION; GARY JENKINS as                           :
Administrator of the New York City Human :
Resources Administration; NEW YORK CITY :
DEPARTMENT OF INFORMATION                                 :
TECHNOLOGY AND                                            :
TELECOMMUNICATIONS; and JESSICA :
TISCH, as Commissioner of the New York                    :
City Department of Information Technology :
and Telecommunications,                                   :
                                                          :
                        Defendants.
                                                          :
--------------------------------------------------------x
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         I hereby certify (i) my understanding that Discovery Material is being provided to me

pursuant to the terms and restrictions of the Joint Stipulation and Protective Order, dated January

[_], 2020 (the “Order”), and (ii) that I have read the Order. I understand the terms of the Order,

agree to be fully bound by its terms, and hereby submit to the jurisdiction of the United States

District Court for the Southern District of New York for purposes of enforcement of the Order. I

will hold in confidence, will not disclose to anyone not qualified under the Order, and will use

only for purposes of this Litigation, any Confidential Discovery Material that is disclosed to me.

Upon the conclusion of the Litigation (or, if applicable, a proceeding described in Paragraph 10(a)

of the Order) and any appeals related thereto, or when I no longer have any reason to possess the

Discovery Material, whichever shall first occur, I hereby agree to return all copies of Discovery

Material to the Party who furnished the same to me or certify that commercially reasonable efforts

have been taken to destroy all such Discovery Material.




         _______________________________________

Dated:
